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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE

                               CASE NO. _______________________


  CHASE BANK USA, N.A., n/k/a
                        nilda
  JPMORGAN CHASE BANK N.A.,

         Plaintiff,

  vs.

  JESSICA JACUCCI, individually and as
  former Trustee of the AELJ IRREVOCABLE
  TRUST SERIES A- 2012, EDWARD STEADMAN
  as Trustee of the AELJ IRREVOCABLE TRUST
  SERIES A-2012 and JOSEPH JACUCCI, jointly and
  severally,

        Defendants.
  _______________________________________

  CHASE BANK USA, N.A. N/K/A JPMORGAN CHASE BANK N.A.’S
                                                 N.A.'S SUPPLEMENTAL
     COMPLAINT TO RECOVER FRAUDULENT TRANSFERS PURSUANT TO
           CHAPTER 726, FLORIDA STATUTES AND OTHER RELIEF

         Judgment Creditor, Chase Bank USA, N.A., now known as JPMorgan Chase Bank, N.A.

  (“Chase”), pursuant
  ("Chase"), pursuant to Chapter 726
                      to Chapter        Florida Statutes,
                                 726 of Florida Statutes, hereby files its Complaint
                                                                           Complaint to recover
                                                                                         recover

  fraudulent
  fraudulent transfers
             transfers made
                       made by and
                               and between
                                   between Edward
                                           Edward Cherry
                                                  Cherry n/k/a
                                                         n/k/a Edward
                                                               Edward Gregory
                                                                      Gregory Steadman
                                                                              Steadman

  (“Judgment Debtor”),
  ("Judgment Debtor"), Jessica
                       Jessica Jacucci
                               Jacucci (“Jessica”)
                                       ("Jessica") individually,
                                                   individually,by
                                                                 by Jessica
                                                                    Jessica while
                                                                            while acting
                                                                                  acting as
                                                                                         as the

  Trustee
  Trustee of the AELJ Irrevocable
                      Irrevocable Trust Series A-2012
                                               A-2012 (“AELJ Trust”), by Judgment Debtor as
                                                      ("AELJ Trust"),

  successor Trustee
  successor Trustee of
                    of the AELJ Trust,
                       the AELJ Trust, the AELJ Trust and Joseph
                                                          Joseph Jacucci
                                                                 Jacucci ("Joe")
                                                                         (“Joe”) jointly and

              In support
  severally. In  support thereof
                         thereof Chase states:
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                                    JURISDICTION AND VENUE

          1.
          1.       This is an action
                              action for
                                     for the
                                          the recovery
                                               recovery of
                                                        of fraudulent
                                                            fraudulent transfers
                                                                        transfers from
                                                                                  from Judgment
                                                                                       Judgment Debtor,
                                                                                                Debtor,

  Jessica
  Jessica Jacucci,
          Jacucci, the
                    the AELJ
                        AELJ Trust, and Joe
                             Trust, and Joe Jacucci,
                                             Jacucci, jointly
                                                      jointly and
                                                              and severally.
                                                                   severally. The
                                                                              The amount
                                                                                  amount in

  controversy exceeds $75,000, exclusive of interest, fees and costs.

          2.
          2.       This proceeding
                        proceeding is properly brought
                                               brought pursuant
                                                       pursuant to Chapter 726 of Florida Statutes

  and §56.29 of the Florida Statutes.

          3.
          3.       This proceeding is properly before this Court Pursuant to 28 U.S.C. §1331 in that

  is it by and between the citizens and domiciliaries
                                        domiciliaries of
                                                      of different
                                                         different states.
                                                                   states. The amount in controversy

  exceeds $75,000
  exceeds $75,000 exclusive
                  exclusive of
                            of interest
                                interest and
                                         and attorneys’
                                             attorneys' fees. This Court
                                                        fees. This Court also
                                                                         also has
                                                                              has jurisdiction
                                                                                   jurisdiction over

  this matter in that it relates to a case under Title 11.

          4.       Pursuant to
                   Pursuant to 28
                               28 U.S.C.
                                  U.S.C. § 1409,
                                           1409, venue
                                                 venue is
                                                       is proper
                                                          proper in
                                                                 in that
                                                                    that it relates
                                                                            relates to a case
                                                                                         case under
                                                                                              under

  Chapter 11.
  Chapter     Venue isis also
          11. Venue       also proper
                                proper under
                                       under 28
                                             28 U.S.C.
                                                U.S.C. §§
                                                       §§ 1391(b)(1)
                                                          1391(b)(1) and (b)(2) in that the
                                                                                        the Debtor
                                                                                            Debtor

  resides in this District, and a substantial number of acts upon which this suit is based occurred in

  this District.

                                                 PARTIES

          5.
          5.       The Judgment Debtor,
                                Debtor, at all times, material hereto has been a citizen of the State

             residing in Broward
  of Florida residing    Broward County,
                                 County, Florida. He isis currently
                                         Florida. He       currently incarcerated
                                                                      incarcerated in federal
                                                                                      federal prison
                                                                                              prison

  due to his violation of 18 U.S.C. § 1001 (false statement to a federal agency) and of 42 U.S.C. §

  408 (using
  408 (using a fraudulently
                fraudulently obtained
                             obtainedsocial
                                      socialsecurity
                                             securitynumber).
                                                      number). On    about May
                                                               On or about May 31,
                                                                               31, 2013,
                                                                                   2013,

  Judgment
  Judgment Debtor
           Debtor submitted
                  submittedaa petition
                              petition to change his
                                       to change          from Edward
                                                 his name from Edward Cherry
                                                                      Cherry to Edward
                                                                                Edward

  Gregory Steadman and is now known as Edward Steadman.




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         6.
         6.         Jessica is currently and at all times material hereto has been a citizen of the State

  of Florida
     Florida residing
             residing in
                      in Broward
                         Broward County,
                                 County, Florida,
                                         Florida, is sui juris,
                                                         juris, and at all
                                                                       all times
                                                                            times material
                                                                                  material to this

  action was in possession of recoverable property under Fla. Stat. §§ 726.108 and 726.109.

         7.         Joe is currently and at all times material
                                                      material hereto
                                                               hereto has
                                                                      has been
                                                                          been a citizen
                                                                                 citizen of the State of

  Florida
  Florida residing
          residing in Broward
                      Broward County,
                              County, Florida,
                                      Florida, is sui juris,
                                                       juris, and
                                                              and is currently
                                                                     currently in possession
                                                                                  possession of

  recoverable property under Fla. Stat. §§ 726.108 and 726.109.

         8.
         8.         The AELJ Trust
                    The AELJ Trust purports
                                   purports to
                                             to be an Irrevocable
                                                be an  Irrevocable Trust
                                                                   Trust for the benefit
                                                                         for the benefit of the
                                                                                             the

  Judgment Debtor’s           EdwardSteadman
           Debtor's children. Edward Steadman has
                                              has controlled
                                                  controlled the
                                                             the AELJ
                                                                 AELJ Trust since its inception

  and presently acts as Trustee of this Trust.

         9.
         9.         Chase is a national banking association organized
                                                            organized and
                                                                      and existing
                                                                          existing under
                                                                                   under the
                                                                                         the laws of

      United States
  the United States with its
                         its main
                             main office
                                  office in
                                          in Columbus,
                                              Columbus, Ohio,
                                                        Ohio, and
                                                              and which
                                                                  which conducts
                                                                         conducts business
                                                                                  business in

  Broward County, Florida.

                                      FACTUAL ALLEGATIONS

               I.     THE JUDGMENTS AGAINST THE JUDGMENT DEBTOR

         10.
         10.        On or about December 31, 2008, a Stipulated Final Judgment was entered against

      Judgment Debtor
  the Judgment Debtor in     amount of $6,539,884
                      in the amount    $6,539,884 by Daniel
                                                     Daniel Stermer
                                                            Stermer as Receiver
                                                                       Receiver for Hess
                                                                                    Hess

  Kennedy and in the Broward County Circuit Court.

         11.
         11.        Judgment Debtor petitioned for relief under Chapter 7 of the Bankruptcy Code on

  June 12, 2012 in that certain case styled: In re: Edward Cherry;
                                                           Cherry; Case No. 12-24343-BKC-JKO.

  (“Bankruptcy Case”).
  ("Bankruptcy Case").

         12.
         12.        In the Bankruptcy Schedules the Judgment Debtor filed under oath, the Judgment

  Debtor disclosed that he owed the Internal Revenue Service $1,278,629.00.




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             13.
             13.         The Judgment Debtor’s
                         The Judgment Debtor's Schedules
                                               Schedules also
                                                         also listed
                                                              listed Chase
                                                                     Chase as
                                                                           as a creditor
                                                                                creditor who holds a
                                                                                         who holds

  $72,000,000.00 claim. However,
                        However, the
                                 the sum
                                     sum owed to Chase was disputed.

             14.
             14.         Throughout
                         Throughout the Chapter 7 proceedings the Judgment Debtor repeatedly thwarted

  the efforts of the Trustee and Chase to uncover his assets and sources of income which included

  the loss or destruction of fourteen boxes of financial documents for which he was sanctioned.

             15.
             15.         The Bankruptcy Case
                         The Bankruptcy Case was
                                             was dismissed
                                                 dismissed on
                                                           on May     2014 but
                                                              May 23, 2014 but jurisdiction
                                                                                jurisdiction was
                                                                                             was

  retained to address the Judgment Debtor’s
                                   Debtor's misconduct.

             16.
             16.         On or about December 9, 2014, a $160,241.21 Judgment was entered against him

  as a result of his discovery misconduct (“The
                                          ("The First Bankruptcy Judgment”).     371].1
                                                                 Judgment"). [DE 371].1

             17.
             17.         The Judgment Debtor
                         The Judgment Debtor was ultimately
                                                 ultimately incarcerated
                                                            incarcerated based
                                                                         based on his
                                                                                  his contemptuous
                                                                                       contemptuous

  conduct in connection
  conduct    connection with
                        with Chase’s             collect on
                             Chase's attempts to collect on the
                                                             the First
                                                                 First Bankruptcy
                                                                       Bankruptcy Judgment.
                                                                                  Judgment. He

      released from custody after satisfying
  was released                    satisfying the First Bankruptcy
                                                       Bankruptcy Judgment
                                                                  Judgment with
                                                                           with funds
                                                                                funds that he

  purportedly received
  purportedly  receivedfrom
                        fromhis
                             his mother.
                                 mother. In
                                          In reality,
                                             reality, the
                                                       the funds
                                                           funds which
                                                                 which were
                                                                       were used
                                                                            used to satisfy
                                                                                    satisfy this
                                                                                            this

  judgment ultimately came from the AELJ Trust.

                   II.      CHASE IS A CREDITOR OF THE JUDGMENT DEBTOR

             18.
             18.                        the Judgment
                         As a result of the Judgment Debtor's
                                                     Debtor’s obstruction
                                                              obstruction of discovery in Chase's
                                                                                          Chase’s efforts
                                                                                                  efforts

                    First Bankruptcy
  to collect on the First Bankruptcy Judgment, on August 5, 2016,
                                                            2016, the
                                                                  the United
                                                                      United States
                                                                             States Bankruptcy
                                                                                    Bankruptcy

  Court entered
  Court entered aa $102,928.80
                    $102,928.80 Judgment
                                 Judgment against
                                           against Judgment
                                                    Judgment Debtor
                                                              Debtor ("Second
                                                                      (“Second Bankruptcy
                                                                                Bankruptcy

  Judgment”). [DE 514].
  Judgment"). [DE

             19.
             19.         Chase has recorded
                         Chase     recorded a certified
                                              certified copy
                                                        copy of
                                                             of the
                                                                 the Second
                                                                      Second Bankruptcy
                                                                             Bankruptcy Judgment
                                                                                        Judgment and

  registered the Judgment Lien Certificate with the Florida Department of State.




  1
  1 All DE   references in this Complaint are to the Bankruptcy Case docket.



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         20.     The Second Bankruptcy
                 The Second Bankruptcy Judgment
                                       Judgment remains
                                                 remains unpaid
                                                         unpaid and execution on
                                                                and execution     this
                                                                              on this

  Bankruptcy Judgment
  Bankruptcy Judgment is
                       is valid
                          valid and
                                and remains
                                    remains outstanding.                               creditor
                                            outstanding. Thus, Chase is and has been a creditor

  of the Judgment Debtor as defined in Fla. Stat. § 726.102

         21.     On March 29, 2016, in Case No. 08-121-LPS, the United States District Court of

  the District of Delaware entered a judgment in favor of Chase and against the Judgment Debtor

  in the amount of $47,674,813.90 with interest (“Delaware
                                                ("Delaware Judgment”).
                                                           Judgment").

         22.     Chase has recorded a certified copy of the Delaware Judgment and has registered

      Judgment Lien
  the Judgment Lien Certificate
                    Certificate with
                                with the
                                     the Florida
                                         Florida Department
                                                 Department of
                                                            of State. This Delaware
                                                               State. This Delaware Judgment
                                                                                    Judgment

  also remains unpaid. Thus, Chase
               unpaid. Thus, Chase is
                                    is and
                                       and has
                                           has been
                                               been aa creditor
                                                       creditor of
                                                                of the
                                                                    the Judgment
                                                                        Judgment Debtor as defined

  in Fla. Stat. § 726.102.

         23.     Chase initiated proceedings supplementary against Jessica individually and in her

  capacity as
  capacity as the former Trustee
              the former Trustee of
                                 of the AELJ Trust
                                    the AEU  Trust in
                                                    in the
                                                        theBankruptcy
                                                            Bankruptcy Case.
                                                                       Case. However,
                                                                             However, due
                                                                                      due to

  Chase’s discovery
  Chase's discovery of the extent
                           extent of the Judgment Debtor's
                                                  Debtor’s fraudulent
                                                           fraudulent transfers
                                                                      transfers and the magnitude

      the Delaware
  of the   Delaware Judgment
                     Judgment and
                              and Second
                                   Second Bankruptcy
                                          Bankruptcy Judgment,
                                                     Judgment, Chase
                                                               Chase cannot
                                                                     cannot be
                                                                            be afforded
                                                                                afforded

  complete relief in United States Bankruptcy Court.

               III. THE
                      THE JUDGMENT
                        JUDGMENT   DEBTORSUSE
                                 DEBTORS   USEOF
                                               OFTHIRD
                                                  THIRD PARTIES
                                                        PARTIES

         24.     In OAG v. Edward Cherry, et al., Case No. 12-26987 (12), the Judgment Debtor

  was sued in a fraudulent mortgage rescue scheme in which his assets were frozen by the Broward

  County Circuit
  County Circuit Court.
                 Court. In that case,
                                case, the
                                       the Honorable
                                           Honorable Michael
                                                     Michael Gates
                                                             Gates noted
                                                                   noted the
                                                                          the Judgment
                                                                               Judgment Debtor
                                                                                        Debtor

  “endeavors to hide [his] participation
  "endeavors               participation in and/or control"
                                                   control” in a fraudulent
                                                                 fraudulent entity "by
                                                                                   “by having other

  individuals undertake
  individuals undertake activities
                        activitieson
                                   on[his]
                                      [his]behalf.”
                                           behalf" See Judge Gates’ Order dated
                                                             Gates' Order dated January 7, 2013,

  Exhibit A.




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         25.     The modus
                     modus operandi
                           operandi identified
                                    identified by
                                               by Judge
                                                  Judge Gates
                                                        Gates is plainly repeated
                                                              is plainly repeated by the
                                                                                  by the

  Judgment Debtor with respect to his wife, Jessica.

         26.     Judgment Debtor strategically enlisted
                                               enlisted Jessica
                                                        Jessica to act on his behalf for the specific

  purpose of concealing his assets from creditors such as Chase.

         27.     Though allegedly unbeknownst
                                  unbeknownst to
                                              to her,
                                                 her, Jessica appears
                                                              appears in filings with the Florida

  Secretary
  Secretary of
            of State
               State as the registered agent for at least
                                                    least five
                                                          five entities
                                                               entities through
                                                                         through which
                                                                                 which the
                                                                                       the Judgment
                                                                                           Judgment

  Debtor conducted business and she is the Trustee for at least three others.

         28.     Jessica     listed as
                 Jessica is listed   asthe
                                        theregistered
                                             registeredagent
                                                        agentofofEsqlitigationsupport.com,
                                                                   Esqlitigationsupport.com, Growth
                                                                                             Growth

  Capital Partners I, LLC, The Center for Legal Justice, LLC, Zion Partners Irrev Trust, LLC and

       Partners Irrevocable
  Zion Partners Irrevocable Trust,
                            Trust, LLC,
                                   LLC, all    which were
                                        all of which were entities
                                                          entities through
                                                                   through which
                                                                           which the
                                                                                 the Judgment
                                                                                     Judgment

  Debtor operated.

         29.     She also purports to act as the
                                             the Trustee
                                                 Trustee for
                                                         for Zion
                                                             Zion Partners
                                                                  Partners Irrevocable
                                                                           Irrevocable Trust, LLC,

  AELJ Irrevocable Trust Series-A 2012, and JAJ Irrevocable Trust Series A-2017.

         30.
         30.     Jessica,
                 Jessica, however,
                          however, has
                                   has no knowledge
                                          knowledge that she is either
                                                                either Trustee,
                                                                       Trustee, registered
                                                                                registered agent,
                                                                                           agent,

  officer, director,
  officer, director, or
                     or even
                        even aa member
                                member of
                                       of these
                                          these entities
                                                entities to
                                                          to which
                                                             which she
                                                                    she holds
                                                                        holds such
                                                                               suchpositions.
                                                                                   positions. Each of

  these entities
  these entities was established by
                 was established by or     the direction
                                    or at the   direction of
                                                          of the
                                                              the Judgment
                                                                   Judgment Debtor
                                                                            Debtor to
                                                                                    to fraudulently
                                                                                        fraudulently

  transfer and conceal monies that he earned, obtained or over which he had control.

                                    IV.  THEAELJ
                                    IV. THE  AELJTRUST
                                                 TRUST

         29.     With respect to the AELJ Trust, Jessica was the named Trustee of the AELJ Trust

  and was the only authorized signatory for the AELJ Trust bank account from its inception until

  June     2018 when
  June 15, 2018 when she
                      she suddenly
                           suddenly resigned
                                     resigned as
                                              as Trustee
                                                 Trustee and
                                                          and the
                                                               the Judgment
                                                                    Judgment Debtor
                                                                             Debtor formally
                                                                                     formally

  undertook control of the Trust.




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           30.
           30.    Jessica
                  Jessica first
                          first learned
                                learned that
                                         that she
                                              she was the Trustee
                                                  was the Trustee of the AELJ
                                                                  of the AELJ Trust
                                                                              Trust when
                                                                                    when the
                                                                                          the

  Judgment Debtor gave her Trust documents to sign.

           31.
           31.    While she was aware that the AELJ Trust was receiving monies, she was willfully

  ignorant as to the source of these funds as well as the amounts that were being deposited into the

  Trust.

           32.
           32.    Notably, Jessica
                  Notably, Jessica lacked
                                   lacked any knowledge of
                                          any knowledge        AELJ Trust's
                                                        of the AELJ Trust’s investments,
                                                                             investments, the
                                                                                          the

  nature of business it conducted, whether the Trust ever loaned money to any other company, or

  even if it ever filed tax returns.

           33.
           33.    Jessica readily admits that while she purported to act as Trustee, she delegated all

  “investment” decisions to the Judgment Debtor, [DE 642, ¶ 10] and further granted the Judgment
  "investment"

  Debtor carte
  Debtor carte blanche
               blanche authority
                       authority to
                                  to issue
                                     issue checks
                                           checks on behalf of the
                                                  on behalf     the AELJ
                                                                    AELJ Trust.
                                                                         Trust. The
                                                                                The Judgment
                                                                                     Judgment

  Debtor could sign Jessica’s name on AELJ checks at his sole and unfettered discretion.
                    Jessica's name

                     V.     THE TRANSFERS FROM THE AELJ’S
                                                   AELJ'S TRUST

           34.
           34.    Jessica’s sudden resignation
                  Jessica's sudden resignation as Trustee and
                                               as Trustee  and Judgment
                                                                Judgment Debtor's
                                                                         Debtor’s explicit
                                                                                   explicit

  assumption of her duties as Trustee further underscores
  assumption                                  underscores the
                                                          the fact
                                                              fact that
                                                                   that the AELJ Trust is nothing

  more than a sham
              sham that
                   that was
                        was used
                            used by
                                 by the
                                     the Judgment
                                         JudgmentDebtor
                                                  Debtortotoshield
                                                             shieldhis
                                                                    hisassets
                                                                        assetsfrom
                                                                               fromcreditors
                                                                                    creditors [DE

  644, ¶ 17].

           35.
           35.    Significantly, Judgment Debtor is not only the settlor of the AELJ Trust, but since

  he is now also the Trustee, he is the de facto legal owner of the AELJ Trust corpus.

           36.
           36.    The Judgment Debtor
                  The Judgment Debtor and
                                      and his wife Jessica
                                          his wife Jessica utilized
                                                           utilized the AELJ Trust
                                                                    the AELJ Trust as their
                                                                                       their

  personal piggy bank to fund an upscale lifestyle for themselves and to
                                                                      to support
                                                                         support Jessica’s
                                                                                 Jessica's family.




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         37.
         37.     From December
                 From December 25,
                                25, 2012
                                    2012 to May 16,
                                         to May 16, 2018
                                                     2018 the
                                                           theAELJ
                                                               AELJTrust
                                                                    Trusttransferred
                                                                           transferred

  $614,679.73 directly
  $614,679.73 directly to
                        to Jessica’s personal checking
                           Jessica's personal checking account
                                                       account at
                                                               at Bank    America (Acct. No.
                                                                  Bank of America        No.

  2420). See Exhibit B, Transfers to Jessica Jacucci.

         38.
         38.     Jessica
                 Jessica did not provide any services
                                             services or
                                                      or anything
                                                         anything of
                                                                  of value
                                                                     value in exchange
                                                                              exchange for
                                                                                       for any of

  these payments.

         39.
         39.     From July 15, 2013 through April 30, 2018 $228,800.00 were transferred from the

  AELJ Trust to Judgment Debtors father in law, Joe. See Exhibit C, Transfers to Joe Jacucci.

         40.     Joe did not provide any services or anything of value in exchange for any of these

  payments.

         41.         payments made
                 All payments made to Joe were made either by Jessica, as Trustee of the AELJ
                                                                                         AELJ

  Trust or with her authorization.

         42.     The AELJ
                     AELJ Trust,
                          Trust, which
                                 which purports
                                       purports to
                                                to be
                                                   be for the benefit of the Judgment
                                                                             Judgment Debtor's
                                                                                      Debtor’s

  children, paid the following personal expenses for or on behalf of the Judgment Debtor:

                 a.
                 a.     his criminal counsel ($25,000);

                 b.     his bankruptcy counsel ($14,000);

                 c.
                 c.     payments on
                        payments   on credit
                                      credit cards
                                             cards issued
                                                   issued to     by Capital
                                                          to him by Capital One,
                                                                            One, Barclays
                                                                                 Barclays and
                        CitiCard ($109,136.07);

                 d.
                 d.     term life insurance ($795);

                 e.
                 e.     electric and utility bills ($9,109.36);

                 f.
                 f.     pool service ($19,225.00);

                 g.
                 g.     painters ($6,930.91);

                 h.     electricians and air conditioning contractors ($1,580.00);

                 i.
                 i.     lawn and landscaping contractors ($2,650.00); and

                 j.     house insurance ($4,609.34).



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  See Exhibit D, Personal Expenses Paid.

             43.       The Judgment Debtor’s                                    U.S. Bankruptcy
                                    Debtor's further perpetrated a fraud on the U.S. Bankruptcy Court

     claiming to be
  by claiming    be insolvent
                     insolvent and
                               and needing
                                   needing to
                                           to have
                                               have his
                                                     his mother
                                                          mother satisfy
                                                                  satisfy the
                                                                           the First
                                                                                First Bankruptcy
                                                                                       Bankruptcy

  Judgment to secure his release from custody. In reality, the AELJ Trust reimbursed the Judgment

  Debtor’s mother
  Debtor's mother for
                  for the
                      the monies
                          monies she
                                 she advanced
                                     advanced to satisfy the First Bankruptcy Judgment.

                            VI.      JUDGMENT DEBTOR’S
                                              DEBTOR'S EARNINGS FROM
                                       THE NEW HORIZONS ENTITIES

             44.       Judgment
                       Judgment Debtor
                                Debtor generated,
                                       generated, owned,
                                                  owned, and operated a purported
                                                         and operated   purported debt
                                                                                  debt settlement
                                                                                        settlement
                                                                                            2
  business under
  business under the name
                     name New
                          New Horizons
                              Horizons Custodial
                                       Custodial Funding,
                                                 Funding, LLC2
                                                          LLC with
                                                               with partner
                                                                    partner Sanjiv
                                                                            Sanjiv Matta
                                                                                   Matta

  (“Matta”), through a series of interconnected shell entities.
  ("Matta"),

             45.               these shell
                       All of these  shell entities
                                            entities share
                                                      share similar,
                                                             similar, almost
                                                                      almost indistinguishable
                                                                              indistinguishable names
                                                                                                names and all

                  same principal
  have either the same principal address or mailing
                                            mailing address,
                                                    address, and
                                                             and common
                                                                 common entities
                                                                        entities or
                                                                                 or individuals
                                                                                     individuals

  acting as officers and registered agents, to wit:


                 Entity Name                                  Address                       Manager/Registered Agent

      New Horizons Custodial                    Principal:                                Registered Agent:
      Funding, LLC                              1581 Brickell Avenue                      Luciana Hernandez
      Filed: 2/26/15                            Miami, FL 33129
                                                                                          Manager:
                                                Mailing:                                  New Horizons Custodial
                                                1581 Brickell Avenue                      Partners
                                                Miami, FL 33129                           1581 Brickell Avenue
                                                                                          Miami, FL 33129
      ---------------------------------------   ---------------------------------------   ---------------------------------------
      Name Amended                              Principal:                                New Registered Agent:
      Filed: 10/28/16 to                        9900 West Sample Road                            Horizons Management
                                                                                          New Horizons       Management
      New Horizons Equity Funding,              Suite 300                                 Company, LLC
      LLC                                       Coral Springs, FL 33065                   Changed 1/17/17
      Active
                                                Mailing:                                  New Manager Added:
                                                9900 West Sample Road                     NH Equity Partners
                                                Suite 300                                 9900 West Sample Road
                                                Coral Springs, FL 33065                   Suite 300

  2
      The name of this entity was later changed to New Horizons Equity Funding.


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                                                                                   Coral Springs, FL 33065

      New Horizons Custodial               N/A3
                                           N/A3                                    N/A
      Partners

      New Horizons Management              Principal:                              Registered Agent:
      Company, LLC                         9900 West Sample Road                   NH Acquisition Corporation
                                           Suite 300                               9900 West Sample Road
                                           Coral Springs, FL 33065                 Suite 300
                                                                                   Coral Springs, FL 33065
                                           Mailing:
                                           9900 West Sample Road                   Manager:
                                           Suite 300                               New Horizons Management
                                           Coral Springs, FL 33065                 Partners
                                                                                   9900 West Sample Road
                                                                                   Coral Springs, FL 33065

      NH Equity Partners                   N/A                                     N/A

      NH Acquisition Corporation           Principal:                              Registered Agent:
      Filed: 12/1/16                       9900 West Sample Road                   New Horizons Management
                                           Coral Springs, FL 33065                 Company, LLC
                                                                                   9900 West Sample Road
                                           Mailing:                                Suite 300
                                           9900 West Sample Road                   Coral Springs, FL 33065
                                           Coral Springs, FL 33065
                                                                                   Manager:
                                                                                   9900 West Sample Road
                                                                                   Coral Springs, FL 33065

      New Horizons Management              N/A                                     N/A
      Partners
      New Horizons Custodial               Principal Address:                      Registered Agent:
      Holding, LLC                         9900 West Sample Road                           Roussin44
                                                                                   Barbara Roussin
      Filed: 7/26/16                       Suite 3000                              9900 West Sample Road
                                           Coral Springs, FL 33065                 Suite 3000
                                                                                   Coral Springs, FL 33065
                                           Mailing Address:
                                           9900 West Sample Road                   Manager:
                                           Suite 300                               Barbara Roussin
                                           Coral Springs, FL 33065                 9900 West Sample Road
                                                                                   Suite 3000
                                                                                   Coral Springs, FL 33065




  3
  3 N/A shall indicate that the company or entity reference was not identified as one registered to do business with the
  Florida Division of Corporations.
  4
  4 Notably, Barbara Roussin is Jessica
                                  Jessica Jacucci’s
                                          Jacucci's sister and the Judgment Debtor’s
                                                                            Debtor's sister in law.


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   New Horizons Private Equity        Mailing Address:               Owner: New
                                                                             New Horizons
                                                                                  Horizons Equity
   (Fictitious Name)                  9900 West Sample Road          Funding, LLC
   Filed: 12/13/2017                  Suite 3000                     9900 West Sample Road
                                      Coral Springs, FL 33065        Suite 300
                                                                     Coral Springs, FL 33065

                                                                     Registration No.:
                                                                     G17000136668



         46.     Per his modus operandi Judgment Debtor used these shell entities interchangeably

  to cause further confusion (hereinafter collectively referred to as the “New
                                                                          "New Horizons Entities”).
                                                                                        Entities").

         47.     Through
                 Through the         the New
                         the use of the  New Horizons
                                             Horizons Entities,
                                                      Entities, Judgment
                                                                 Judgment Debtor
                                                                          Debtor targeted
                                                                                 targeted and

  persuaded financially
            financially indigent
                        indigent business
                                 business clients
                                          clients to engage his purported debt settlement
                                                                               settlement services

  in exchange for a significant advancement fee (“Clients”).
                                                ("Clients").

         48.                                       induced these Clients to issue fixed periodic
                 Under this guise, Judgment Debtor induced                              periodic

  payments to the New Horizons Entities with false promises of debt settlement and the security of

  equity financing from the New Horizons Entities.

         49.     Judgment
                 Judgment Debtor
                          Debtor opened
                                 opened local
                                        local bank accounts
                                                   accounts for each Client under the umbrella

     the New
  of the New Horizons
             Horizons Entities
                      Entities primary
                               primary account,
                                       account, at Bank
                                                   Bank of
                                                        of America
                                                           America ("New
                                                                    (“New Horizons
                                                                          Horizons Master
                                                                                   Master

  Account”). He
  Account"). Herequired
                required Clients
                         Clients to
                                  to deposit
                                     deposit weekly
                                             weekly or
                                                    or bi-weekly
                                                       bi-weekly contributory sums into their bank

  accounts.

         50.
         50.     Judgment
                 Judgment Debtor
                          Debtor assigned
                                 assigned one
                                          one of his
                                                 his employee/agents
                                                      employee/agents as signatories to each
                                                                      as signatories    each

  Client account.
  Client          These signatories
         account. These  signatories were
                                     were employed
                                          employed by,
                                                   by, under
                                                       under the
                                                             the control
                                                                 control of,
                                                                         of, and acted at the
                                                                             and acted    the

  direction of the Judgment Debtor.

         51.
         51.     Judgment Debtor used his employees as agents to act for him and on his behalf, in

  acquiring and transferring the Client contributions.




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         52.
         52.      The Clients often did not retain direct access to their newly opened bank accounts

  as established by the Judgment Debtor and were required to request
                                                             request permission to access their

  own accounts.

         53.
         53.      The Judgment Debtor
                  The Judgment Debtor did     allocate the
                                      did not allocate the Clients'
                                                           Clients’ contributory
                                                                     contributory deposits
                                                                                  deposits and
                                                                                           and

  advancements toward their intended purpose, i.e. to resolve the
                                                              the Clients’
                                                                  Clients' debt obligations.

         54.
         54.      Rather, Judgment Debtor
                                   Debtor diverted
                                          diverted the funds
                                                       funds from the Client accounts to the New

  Horizons Master Account at Bank of America.

         55.
         55.      Judgment
                  Judgment Debtor
                           Debtorthen
                                  then utilized
                                       utilizedthese
                                                these funds
                                                       funds to
                                                              to cover the overhead
                                                                 cover the overhead costs
                                                                                    costs of

  operating the New Horizons Entities,
  operating                  Entities, and together
                                           together with his business partner Sanjiv Matta took

  the funds for themselves.

         56.
         56.      The offices of
                              of the
                                  the New
                                      NewHorizons
                                          HorizonsEntities,
                                                   Entities,located
                                                             locatedatat9900
                                                                         9900West
                                                                              WestSample  Road, Coral
                                                                                   Sample Road, Coral

  Springs,    33065,were
           FL33065,
  Springs, FL        wereraided
                          raidedby
                                 bythe
                                    theFBI
                                        FBIatatsome
                                                somepoint
                                                     pointin
                                                           in2018
                                                             2018 and
                                                                  and are
                                                                      are now
                                                                          now out
                                                                              out of business.

         57.
         57.      The New Horizons
                          Horizons Custodial
                                   Custodial Company
                                             Company and
                                                     and its
                                                         its affiliated
                                                             affiliated entities
                                                                        entities are
                                                                                 are and
                                                                                     and were a

  mere instrumentality
  mere instrumentality of Judgment Debtor
                       of Judgment Debtor utilized
                                          utilized to defraud its
                                                   to defraud its customers
                                                                   customers and
                                                                             and Judgment
                                                                                  Judgment

  Debtors’ creditors.
  Debtors' creditors. As
                      As such,
                         such, the
                                the separate
                                     separate corporate
                                               corporate existence
                                                          existence of
                                                                    of New
                                                                       New Horizons
                                                                            Horizons Custodial
                                                                                      Custodial

  Company from
  Company from the Judgment Debtor
               the Judgment Debtor should
                                   should be pierced and
                                          be pierced     disregarded. New
                                                     and disregarded. New Horizons
                                                                           Horizons

  Custodial Entities and the Judgment Debtor should be considered and treated as one in the same.

             THE
      VII. THE   TRANSFER
               TRANSFER OFOF JUDGMENTDEBTOR'S
                           JUDGMENT   DEBTOR’S"EARNINGS"
                                               “EARNINGS” FROM
                                                           FROM
               THE NEW HORIZONS ENTITIES TO THE AELJ TRUST

         58.
         58.      All compensation from the New Horizons Entities that Judgment Debtor received

  or obtained was deposited into the AELJ Trust account ending in 4910 at Bank of America

         59.
         59.      This is the same bank account for AELJ Trust, to which Judgment Debtor’s
                                                                                  Debtor's wife

  and agent, Jessica purported to act as the sole Trustee.




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         60.
         60.     From September
                 From September 28,
                                28, 2015    August 4,
                                    2015 to August 4, 2017,
                                                      2017, the
                                                             the Judgment
                                                                  Judgment Debtor
                                                                           Debtor transferred
                                                                                   transferred

  $655,391.10 from New Horizons Custodial Funding to the AELJ Trust Account. See Exhibit E,

  Transfers from New Horizons Custodial Funding to AELJ.

         61.
         61.     Judgment
                 JudgmentDebtor
                          Debtorutilized
                                 utilizedthe
                                          theAELJ
                                              AELJTrust
                                                   Trusttoto serve
                                                             serve as the recipient
                                                                   as the recipient of his
                                                                                    of his

  fraudulently
  fraudulently transferred
               transferred assets
                           assets from
                                  from the
                                       the New Horizons Entities
                                                        Entities in a manner intended to deceive

  his creditors and conceal his personal interest in the monies that were deposited therein.

         62.
         62.     At all times material hereto, Jessica and the sham AELJ Trust for which she acted

     Trustee were
  as Trustee were little more
                         more that
                              that Judgment
                                   Judgment Debtor's
                                            Debtor’s agents
                                                     agents and
                                                            and alter
                                                                alter egos
                                                                      egos in
                                                                           in the
                                                                               the Judgment
                                                                                    Judgment

  Debtor’s efforts
  Debtor's efforts to
                   to hinder,
                      hinder, delay and defraud his creditors.

         63.
         63.        all times
                 At all  times material
                               material hereto,
                                        hereto, Judgment
                                                Judgment Debtor used Jessica,
                                                                     Jessica, the New
                                                                                  New Horizons
                                                                                      Horizons

  Entities,
  Entities, and
            and the
                 the AELJ
                     AELJ Trust
                          Trustto
                                to act
                                   act on
                                       on his
                                          his behalf. Each has,
                                              behalf. Each has, at
                                                                at all
                                                                   all times,
                                                                        times, been
                                                                               been subject
                                                                                    subject to his

  control and
  control     direction to
          and direction    order, aid,
                        to order,          conceal his transfer
                                  aid, and conceal     transfer of funds
                                                                   funds from
                                                                         from the
                                                                              the New
                                                                                  New Horizons
                                                                                      Horizons

  Entities for his personal use.

         64.
         64.     Once those funds were deposited into the AELJ Trust, Judgment Debtor retained

  dominion and control over their use, investment, and enjoyment.

              JUDGMENT
      VIII. JUDGMENT   DEBTOR’S
                      DEBTOR'S  USEOF
                               USE  OFOTHER
                                       OTHERENTITIES
                                             ENTITIESHE
                                                     HE OWNED
                                                        OWNED
                  OR CONTROLLED TO FUND THE AELJ TRUST

         65.
         65.     In the Judgment
                        Judgment Debtor's
                                 Debtor’s efforts to hinder,
                                                     hinder, delay
                                                             delay and
                                                                   and defraud
                                                                       defraud his creditors,
                                                                                   creditors, he

  utilized other entities he owned and controlled to fraudulently fund the AELJ Trust account.

         66.
         66.     Specifically,
                 Specifically,he
                               he used the Esquire
                                  used the  Esquire Litigation
                                                     Litigation Support,
                                                                Support, LLC,
                                                                         LLC, New
                                                                              New Horizons
                                                                                   Horizons

  Irrevocable
  Irrevocable Trust,
              Trust, and
                     and Solace
                         Solace Private
                                Private Equity,
                                        Equity, LLC
                                                LLC as additional
                                                       additional vehicles
                                                                  vehicles by which
                                                                              which to funnel
                                                                                       funnel

  monies through the AELJ Trust account.




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           67.
           67.            times material
                   At all times material hereto,
                                         hereto, Judgment
                                                 Judgment Debtor
                                                          Debtor maintained an ownership interest5
                                                                               ownership interests

  in and was authorized to act for and did act on behalf of Esquire Litigation Support, LLC.

           68.
           68.     Under Judgment
                         Judgment Debtor’s
                                  Debtor's control and at his direction, from October 17, 2012 to

  April 2, 2013 Esquire
                Esquire Litigation Support, LLC deposited
                                   Support, LLC deposited a total of $182,540.00 into the AELJ

  Trust.

           69.
           69.     At all times material to this action, the Judgment Debtor has been the Trustee of

  New Horizons Irrevocable Trust and has controlled or orchestrated the actions of this this entity.

           70.     Under Judgment
                         Judgment Debtor’s
                                  Debtor's direction and control, between May 5, 2016 and April

      2017, the
  19, 2017,  the New
                 New Horizons
                     Horizons Irrevocable
                               Irrevocable Trust
                                           Trust deposited
                                                 deposited $139,464.63
                                                           $139,464.63 into     AELJ Trust
                                                                       into the AELJ Trust

  account at Bank of America.

           71.     At all times material to this action, the Judgment Debtor has either maintained an

  ownership interest in Solace Private Equity, LLC or has controlled or orchestrated the actions of

       entity.6
  this entity.6

           72.     Under Judgment
                   Under Judgment Debtor’s control and at his direction,
                                  Debtor's control            direction, from August
                                                                              August 10, 2017 to

  May 11, 2018 Solace Private Equity, LLC deposited a total of $197,000.00 into the AELJ Trust.

           73.     From October
                   From October 17, 2012 to May
                                17, 2012    May 11,
                                                11, 2018
                                                     2018 the
                                                           the Judgment
                                                                Judgment Debtor
                                                                         Debtor utilized
                                                                                utilized New
                                                                                         New

  Horizons Custodial
  Horizons Custodial Funding,
                     Funding, LLC,
                              LLC, Esquire Litigation Support,
                                   Esquire Litigation Support, LLC, the New
                                                               LLC, the New Horizons
                                                                            Horizons

  Irrevocable
  Irrevocable Trust,
              Trust, and
                     and Solace
                         Solace Private
                                Private Equity,
                                        Equity, LLC
                                                LLC as aa mechanism
                                                          mechanism to
                                                                     to fraudulently
                                                                         fraudulently transfer
                                                                                       transfer

  $1,169,163.88 into
  $1,169,163.88 into the
                     the AELJ
                         AELJ Trust
                              Trust to conceal
                                       conceal his interest
                                                   interest in these funds and place these funds

  beyond the reach of creditors.
  beyond              creditors. See Composite
                                     Composite Exhibit F, Transfers
                                                          Transfers from Judgment Debtor’s
                                                                    from Judgment Debtor's

  Entities to AELJ.


  5
  5Through a convoluted web of Zion Entities, the Judgment Debtor is an owner of Esquire Litigation Support, LLC.
  6
  6               2017, the
   On April 27, 2017,   the Judgment
                            Judgment Debtor filed a Form D Notice
                                                             Notice of Exempt
                                                                       Exempt Offering of Securities with the Unites
  States Securities and Exchange Commission
                                 Commission on on behalf
                                                  behalf of Solace Private Equity,
                                                                           Equity, LLC, wherein
                                                                                        wherein he listed himself as
  Director of the company.



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           74.    As a result of the aforementioned fraudulent transfers, Chase’s
                                                                          Chase's Judgments against

  the Judgment Debtor remain outstanding.

                 IX.   JUDGMENT DEBTOR’S
                                DEBTOR'S CONTINUOUS OBSTRUCTION
                            OF THE DISCOVERY PROCESS

           75.    The Judgment
                      Judgment Debtor
                               Debtor has
                                      has endeavored
                                          endeavored to
                                                     to conceal
                                                        conceal his
                                                                his assets
                                                                    assets and to hinder, delay

  and defraud Chase and other creditors.

           76.                     warnings by the United States Bankruptcy
                  Despite multiple warnings                      Bankruptcy Court the Judgment
                                                                                      Judgment

  Debtor engaged
  Debtor engaged in
                 in a pattern
                      pattern of ongoing
                                 ongoing and pervasive
                                             pervasive discovery
                                                       discovery misconduct.    resorted to
                                                                 misconduct. He resorted

  implied threats
  implied         against undersigned
          threats against undersigned counsel’s
                                      counsel's daughter
                                                daughter and
                                                         and threats
                                                             threats of violence against
                                                                     of violence against the
                                                                                         the

  undersigned counsel
  undersigned counsel by
                      by third
                         third parties
                               parties if certain
                                          certain questions
                                                  questions were answered during
                                                            were answered during the course of
                                                                                 the course

  discovery.

           77.    In one of the
                            the multiple
                                multiple discovery
                                         discovery orders entered by the United
                                                                         United States Bankruptcy
                                                                                       Bankruptcy

  Court, the Honorable
             Honorable John
                       John Olson
                            Olson noted
                                  noted that
                                         that "the
                                              “the Court
                                                   Court is
                                                          is left
                                                              left with
                                                                   with the
                                                                        the overwhelming
                                                                            overwhelming impression

  that Judgment
  that Judgment Debtor
                Debtor was
                       was not being
                               being truthful
                                      truthful or
                                               or forthcoming"
                                                   forthcoming” and
                                                                and on
                                                                     on numerous
                                                                         numerous occasions,
                                                                                   occasions,

  “resorted to baseless and frivolous motions for protective orders.”
  "resorted                                                  orders." [DE 371].

           78.    When Chase attempted
                             attempted to depose
                                          depose Jessica
                                                 Jessica in order to determine the source of the

  Judgment
  Judgment Debtor’s           locations of his assets, Judgment Debtor
           Debtor's funds and locations                         Debtor thwarted
                                                                       thwarted Chase’s
                                                                                Chase's every

  effort. The
  effort.  TheJudgment
               Judgment Debtor
                        Debtor disrupted
                               disrupted Jessica's
                                         Jessica’s initial
                                                    initial deposition
                                                            deposition forcing it to
                                                                                  to be
                                                                                     be terminated.
                                                                                         terminated.

  He then filed a Motion for Protective Order to prevent the continuance of her deposition.

           79.    When Jessica's
                  When Jessica’s deposition
                                 deposition was
                                            was reconvened,
                                                 reconvened, she
                                                             she was
                                                                 was improperly
                                                                      improperly coached
                                                                                  coached

  throughout her
  throughout her continued
                 continued deposition.
                           deposition.She
                                       Sherelied
                                           reliedon
                                                 on aa script
                                                       script that     has been
                                                              that she has been provided
                                                                                provided from
                                                                                         from

  which to testify. [DE 547, 550, 552]. Her
                                        Hercounsel,
                                            counsel, who
                                                     who also
                                                          also represented
                                                                represented the
                                                                             the Judgment
                                                                                 Judgment Debtor,
                                                                                          Debtor,

  refused to
  refused                                  was directed
          to turn the script over until he was directed to do
                                                           do so
                                                              so by
                                                                 by the
                                                                     the United
                                                                         United States
                                                                                States Bankruptcy
                                                                                       Bankruptcy

  Court.



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            80.
            80.     It was
                       was not
                           not until
                               until after
                                      after the
                                             the continued
                                                  continued deposition
                                                            deposition of Jessica
                                                                          Jessica in 2018
                                                                                     2018 that
                                                                                           that Chase
                                                                                                Chase

  reasonably could
  reasonably could have
                   have discovered
                        discovered evidence
                                   evidence revealing
                                            revealing Judgment
                                                      Judgment Debtor’s
                                                               Debtor's use of New Horizons
                                                                                   Horizons

  Custodial Funding,
  Custodial Funding, LLC
                     LLC and
                         and associated
                             associated shell  entities7 to
                                         shell entities  to transfer
                                                             transfer funds,
                                                                      funds, in which
                                                                                which the
                                                                                      the Judgment
                                                                                          Judgment

  Debtor held an interest, to the AELJ Trust.

            81.
            81.     Neither the Judgment Debtor nor Jessica revealed or disclosed any income from

                                   funding of the
  the New Horizons Entities or its funding    the AELJ
                                                  AELJ Trust.
                                                       Trust. They
                                                              They knowingly
                                                                   knowingly and purposefully
                                                                                 purposefully

  concealed Judgment
  concealed Judgment Debtor’s
                     Debtor's assets, including all earnings and income from the New Horizons

  Entities.

            82.
            82.     Judgment
                    Judgment Debtor
                             Debtor transferred
                                    transferred assets
                                                assets from
                                                        from entities
                                                             entities he either secretly
                                                                      he either secretly owned
                                                                                         owned or

  controlled, to
  controlled, to the AELJ
                     AELJ Trust. Subsequent
                                 Subsequent transfers
                                            transfers were
                                                      were then
                                                           then made
                                                                made from
                                                                     from the AELJ Trust
                                                                          the AELJ Trust to

  Jessica and Joe.

            83.
            83.     Florida law provides
                    Florida     provides relief
                                         relief to
                                                 to creditors
                                                     creditors against
                                                                against fraudulent
                                                                         fraudulent transfers,
                                                                                     transfers, permitting
                                                                                                permitting

  them to obtain:

                        Avoidance of
                    (a) Avoidance     of the  transfer or obligation
                                         the transfer     obligation to the
                                                                        the extent
                                                                            extent necessary
                                                                                   necessary to
                        satisfy the creditor's claim;
                    (b) An attachment or other provisional remedy against the asset transferred
                        or other property of the transferee in accordance with applicable law;
  7
      The following are among the New Horizons Custodial Company entities known to date:
                 a. Credit Acceptance Finance Corp.
                 a.
                 b. Legal Care Trust Company (Rivadeneira 106: 9-11; 110: 8-13; Exhibit 12)
                 c.
                 c. Legal Care Trust Series 2017-1-A 2017 (Rivadeneira 115: 2
                 d.
                 d. MLB Marketing Interactive, LLC
                 e.
                 e. New Horizons Custodial Company (Rivadeneira 16: 2, 3)
                 f.
                 f. New Horizons Custodial Partners, LLC
                 g. New Horizon(s) Equity Funding, LLC f/k/a New Horizons Custodial Funding, LLC (Rivadeneira
                 g.
                      59: 18-22; Exhibits 4, 7)
                 h. New Horizons Custodial Holdings, LLC
                 i.
                 i. New Horizons Irrevocable Trust- Edward Steadman Trustee, U/A 3/1/2013
                 j. New Horizons Management Company, LLC
                 k. New Horizons Management Partners
                 l. NH Acquisition Business Trust
                 1.
                 m. NH Acquisition Corporation (Rivadeneira Exhibit 14)
                 n. NH Equity Partners
                 o. Solace Equity Finance, LLC
                 o.
                 p. Solace Private Equity, LLC (Rivadeneira 57: 6-11; 121: 8, 9




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                 (c) Subject
                 (c) Subject to applicable
                                  applicable principles
                                               principles of equity and
                                                          of equity and in
                                                                         in accordance
                                                                             accordance with
                                                                                        with
                     applicable rules of civil procedure:

                         1. An injunction
                         1.     injunction against
                                            against further
                                                      further disposition
                                                               dispositionby
                                                                           by the
                                                                               the debtor
                                                                                   debtor or
                                                                                           or a
                            transferee, or both, of the asset transferred or of other property;
                         2. Appointment of a receiver to take charge of the asset transferred
                         2.
                            or of other property of the transferee; or
                         3.
                         3. Any other relief the circumstances may require.

                 (2) If a creditor has obtained a judgment on a claim against the debtor, the
                 creditor, if the court so orders, may levy execution on the asset transferred
                 or its proceeds.

         Fla. Stat. § 726.108(1),(2). See Fla. Stat. § 726.101-112.

         84.     Fla. Stat.
                 Fla. Stat. §726.109(2)(a)
                            §726.109(2)(a) and      further provide
                                           and (b) further  provide aa creditor
                                                                        creditor recovery
                                                                                  recovery against
                                                                                            against

  transferees of the asset as follows:

                 (2) Except as otherwise provided in this section, to the extent a transfer is
                 voidable in an action by a creditor under s. 726.108(1)(a), the creditor may
                 recover judgment
                         judgment for the value of the asset
                                                         asset transferred,
                                                               transferred, as adjusted under
                 subsection (3),
                 subsection  (3), or     amount necessary
                                  or the amount   necessary to satisfy
                                                                 satisfy the
                                                                          the creditor's
                                                                               creditor's claim,
                                                                                          claim,
                 whichever is less. The judgment may be entered against:

                         (a) The first transferee of the asset or the person for whose benefit
                             the transfer was made; or
                                   subsequent transferee
                         (b) Any subsequent     transferee other
                                                           other than    good faith
                                                                  than a good  faith transferee
                                                                                      transferee
                             who took for value or from any subsequent transferee.

         85.     For these reasons, Chase brings forth this suit for relief against Judgment Debtor,

  his agent, Jessica Jacucci, the AELJ Trust, and Joe Jacucci, jointly and severally.

                                         COUNT I
                  [Judgment Debtor’s
                            Debtor's Fraudulent Transfers to the AELJ Trust]

         86.     Chase hereby
                 Chase hereby re-alleges
                              re-alleges and
                                         and incorporates
                                             incorporates paragraphs
                                                          paragraphs1-85
                                                                     1-85as
                                                                          as ifif fully     forth
                                                                                  fully set forth

  herein and further states:

         87.     This is an action
                            action to
                                   to avoid
                                      avoid and
                                            and recover
                                                 recover the
                                                          the aforementioned
                                                              aforementioned fraudulent transfers to

  the AELJ Trust, pursuant to Florida Statute § 726.105(1)(a)-(b).




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         88.
         88.     Judgment Debtor directly or indirectly transferred, approximately
                                                                     approximately $1,169,163.88,

     which he held
  in which    held an
                   an interest,
                       interest, into
                                  into the
                                        the AELJ
                                            AELJ Trust
                                                 Trust Account
                                                       Account for the
                                                                    the purpose
                                                                        purpose of
                                                                                of evading
                                                                                   evading his

  creditors such as Chase. See Composite Exhibit F, Transfers
  creditors                                         Transfers from Judgment
                                                                   Judgment Debtor’s
                                                                            Debtor's Entities

  to AELJ.

         89.
         89.     At the time of the transfers to AELJ Trust, Chase was a creditor of the Judgment

  Debtor.

         90.
         90.     Judgment Debtor either made or caused these transfers to AELJ Trust to be made

  with the actual intent to delay, hinder, and/or defraud his creditors, including Chase.

         91.
         91.     Judgment Debtor’s
                          Debtor's actual intent is evidenced by the following facts:

                     a. Jessica,
                     a. Jessica, as Judgment
                                    Judgment Debtor’s
                                             Debtor's wife
                                                      wife and the Trustee
                                                                   Trustee of the AELJ Trust is

                         an insider within the meaning of Fla. Stat. §§ 726.102(8), 726.105(2)(a).

                           all times
                     b. At all  times material
                                      material hereto,
                                               hereto, the
                                                        the Judgment
                                                             Judgment Debtor
                                                                      Debtor retained
                                                                             retained control
                                                                                      control over
                                                                                              over

                             directed the deposit
                         and directed     deposit of
                                                  of his
                                                     his earnings
                                                          earnings from
                                                                    from New
                                                                         New Horizons
                                                                             Horizons Custodial
                                                                                      Custodial

                         Funding, LLC,
                         Funding,      Esquire Litigation
                                  LLC, Esquire Litigation Support,
                                                          Support, LLC,     New Horizons
                                                                   LLC, the New Horizons

                         Irrevocable Trust, and Solace Private Equity LLC into the AELJ Trust.

                     c. At all times material hereto, the Judgment Debtor retained control over the
                     c.

                         income, funding,
                         income, funding, distribution,
                                          distribution, withdrawals,
                                                        withdrawals,and
                                                                     and finances
                                                                         finances of     AELJ
                                                                                  of the AELJ

                         Trust.

                     d. Judgment
                     d. Judgment Debtor
                                 Debtor retained
                                        retained possession
                                                 possession and
                                                             and control
                                                                 control over the property
                                                                         over the  property

                         transferred to and from the AELJ Trust.

                     e. The Judgment Debtor concealed these transfers to AELJ Trust.
                     e.

                     f.
                     f. Either
                        Either at the time or
                                           or before
                                              before the
                                                      the time
                                                           time of
                                                                of the
                                                                    the abovementioned
                                                                         abovementioned transfers
                                                                                        transfers to

                         AELJ Trust,
                         AELJ Trust, the Judgment
                                         Judgment Debtor
                                                  Debtor had
                                                         had multiple
                                                             multiple judgments
                                                                       judgments and claims
                                                                                     claims




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                           pending against
                           pending against him,
                                           him, was
                                                was in bankruptcy and
                                                    in bankruptcy and had both been
                                                                      had both been sued
                                                                                    sued and
                                                                                         and

                           threatened with suit by numerous other creditors.

                       g. Judgment
                       g. Judgment Debtor
                                   Debtor transferred
                                          transferred all
                                                      all or substantially
                                                             substantially of
                                                                           of his assets to the AELJ

                           Trust.

                       h. At the time
                                  time of
                                       of the
                                           the transfers
                                                transfers to
                                                           to AELJ
                                                              AELJ Trust,
                                                                   Trust, and
                                                                           and during
                                                                                during his
                                                                                       his bankruptcy
                                                                                            bankruptcy

                           proceedings and
                           proceedings     even afterward,
                                       and even afterward, Judgment
                                                           Judgment Debtor
                                                                    Debtor represented
                                                                           represented he was
                                                                                       he was

                           insolvent. The Judgment Debtor was either actually insolvent, or became
                           insolvent.

                                                                                    made.88
                           insolvent shortly after the transfers to AELJ Trust were made.

                       i. The Judgment Debtor removed and concealed the earnings from Esquire
                       i.                                                             Esquire

                           Litigation Support, LLC, the New Horizons Irrevocable Trust, and Solace

                           Private Equity LLC and the New Horizons Entities by causing them to be

                           deposited into
                           deposited into the AELJ Trust
                                          the AELJ Trust to
                                                         to conceal
                                                             conceal these
                                                                      these sums
                                                                             sums from
                                                                                   from Judgment
                                                                                         Judgment

                           Debtors creditors.

                       j. The transfers to AELJ
                          The transfers    AELJ Trust
                                                Trust referenced
                                                       referenced in Exhibit
                                                                     Exhibit F occurred
                                                                               occurred before,

                           concurrently, and
                           concurrently,  and shortly
                                              shortly after
                                                      after substantial
                                                            substantial debt
                                                                        debt was incurred by
                                                                             was incurred    the
                                                                                          by the

                           Judgment Debtor.

                       k. In addition
                             addition or        alternative, the
                                      or in the alternative, the transfers
                                                                 transfers by
                                                                           by or
                                                                              or at the behest
                                                                                        behest of the

                           Judgment
                           Judgment Debtor
                                    Debtortoto AELJ
                                               AELJ Trust
                                                    Trust were
                                                          were made
                                                               made without
                                                                    without receiving
                                                                             receiving a

                           reasonably equivalent value in exchange.

          92.     Accordingly, the Transfers to AELJ Trust are voidable.

          Wherefore, Chase respectfully requests this Court enter judgment against the AELJ Trust

  and the Trustee of the AELJ Trust, jointly and severally and to:


  8
  8On September
   On  September 27, 2018 thethe Judgment
                                 Judgment Debtor filed a Motion for Leave to Proceed
                                                                             Proceed in Forma
                                                                                        Forma Pauperis [DE 636],
  wherein he declared his insolvency.



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                 A. Find that the transfers to AELJ Trust, as described herein were fraudulent and
                    as such be avoided pursuant to Fla. Stat. § 726.108(1)(a).

                    Order that the funds deposited
                 B. Order                deposited into
                                                   into the AELJ
                                                             AELJ Trust
                                                                    Trust or other property
                                                                                   property of the
                    AELJ Trust be attached pursuant to Fla. Stat. § 726.108(1)(b).

                 C. Issue an injunction against further disposition by Judgment Debtor and Jessica
                    or any transferee of the assets transferred
                                                     transferred or any other property of the AELJ
                    Trust pursuant to Fla. Stat. § 726.108(1)(c)1 and any of its proceeds.

                 D. Appoint a receiver to take charge of the assets transferred or of other property
                    of the AELJ Trust pursuant to Fla. Stat. § 726.108(1)(c)2

                 E. Levy execution on the transfers to AELJ Trust and all of its proceeds pursuant
                    to Fla. Stat. § 726.108(2).

                    Grant an award
                 F. Grant    award of attorney's
                                      attorney’s fees and costs
                                                          costs against
                                                                against the AELJ Trust, and its
                    Trustee.

                 G. Grant such other relief as this Court deems just and proper.

                                            COUNT II
                           [AELJ Trust is Judgment Debtor’s
                                                   Debtor's Alter Ego]

         93.
         93.     Chase hereby
                 Chase hereby re-alleges
                              re-alleges and
                                         and incorporates
                                             incorporates paragraphs
                                                          paragraphs1-85
                                                                     1-85as
                                                                          as ifif fully     forth
                                                                                  fully set forth

  herein and further states:

         94.
         94.     The AELJ Trust is, in fact, the alter ego of Judgment Debtor.

         95.
         95.     The AELJ Trust is not a valid trust.

         96.
         96.     The AELJ
                     AELJ Trust
                          Trust and the Judgment
                                        Judgment Debtor
                                                 Debtor are, in substance,
                                                                substance, one and the same.
                                                                                       same.

  This purported trust is a mere sham which served as a conduit for the Judgment Debtor to funnel

  monies in which he held an interest
  monies                     interest and, in
                                           in aa fashion,
                                                  fashion, which
                                                           which would
                                                                 would hinder,
                                                                       hinder, delay
                                                                               delay and defraud
                                                                                         defraud

  Judgment Debtor’s
           Debtor's creditors and all those who deal with him or the Trust.

         97.
         97.     The Judgment Debtor
                 The Judgment Debtor used
                                     used the
                                          the assets
                                              assets of     AELJ Trust for his
                                                     of the AELJ           his personal
                                                                               personal use,
                                                                                        use,

  caused assets therefrom
                therefrom to be transferred
                                transferred to his wife and agent, Jessica, for her personal use and




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          withdrawn cash
  she has withdrawn cash from
                         from the AELJ Trust
                              the AELJ Trust bank
                                             bank account
                                                  account for
                                                          for his personal use
                                                              his personal use and
                                                                               and for her

  personal use.

         98.
         98.             times material
                  At all times material hereto,
                                        hereto, the
                                                the Judgment
                                                    Judgment Debtor
                                                             Debtor dominated
                                                                    dominated and controlled
                                                                                  controlled the

  AELJ Trust, to such an extent that these entities lacked any independent existence.

         99.
         99.      In furtherance of maintaining unfettered control over the AELJ Trust, and to assist

  in his fraudulent use thereof, he appointed
                                    appointed his wife, Jessica Jacucci
                                                                Jacucci as the initial Trustee of the

  AELJ Trust before assuming the role of Trustee himself.

         100.
         100.     There have never been any other known officers of the AELJ Trust.

         101.
         101.     Jessica
                  Jessica was
                          was a mere figurehead
                                     figurehead that
                                                that did
                                                     did not perform
                                                             perform any
                                                                     any duties
                                                                         duties on behalf
                                                                                   behalf of the

  AELJ Trust, independent of the Judgment
                                 Judgment Debtor’s
                                          Debtor's control.

         102.
         102.     The Judgment Debtor
                  The Judgment Debtor used
                                      used the
                                           the AELJ
                                               AELJ Trust
                                                    Trust in
                                                          in aa fraudulent
                                                                 fraudulent manner
                                                                            manner and
                                                                                   and for
                                                                                       for

  improper purposes,
  improper purposes, namely
                     namely to
                            to perpetrate
                               perpetrate a fraud upon the United States Bankruptcy Court and

  creditors such as Chase.

         103.
         103.     The Judgment Debtor
                  The Judgment Debtor used
                                      used the AELJ Trust to
                                                          to fraudulently
                                                              fraudulently hold, conceal,
                                                                                 conceal, and

  transfer Judgment
  transfer JudgmentDebtor’s
                    Debtor's earnings
                             earningstoto keep
                                          keep them
                                               them from      reach of
                                                    from the reach  of Judgment
                                                                        Judgment Debtor's
                                                                                 Debtor’s

  creditors, such as Chase.

         104.
         104.     The Judgment Debtor depleted
                                      depleted the assets of the AELJ Trust for his own personal

  use.

         105.
         105.     Judgment Debtor received all the benefit of the Trust assets.

         106.
         106.     The fraudulent
                      fraudulent and improper
                                     improper use
                                              use of the AELJ Trust by the Judgment Debtor has

  caused Chase injury.

         Wherefore, Chase
         Wherefore, Chase requests
                          requests that
                                    that the AELJ Trust
                                         the AELJ Trust be
                                                        be declared
                                                            declared an
                                                                      an additional
                                                                          additional judgment
                                                                                      judgment

  debtor of Chase’s Judgment against the Judgment Debtor.
            Chase's Judgment




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                                            COUNT III
                    [Fraudulent Transfers by Judgment Debtor and his agent,
                      Jessica Jacucci, individually through the AELJ Trust]

         107.
         107.    Chase hereby
                 Chase hereby re-alleges
                              re-alleges and
                                         and incorporates
                                             incorporates paragraphs
                                                          paragraphs1-85
                                                                     1-85as
                                                                          as ifif fully     forth
                                                                                  fully set forth

  herein and further states:

         108.
         108.    This is an action to avoid and recover fraudulent transfers from the AELJ Trust to

  Jessica individually pursuant to Florida Statute § 726.105(1)(a)(b) and while acting as Trustee of

  the AELJ Trust.

         109.
         109.    Jessica,
                 Jessica, both individually and
                          both individually  and while
                                                 while acting
                                                       acting as Trustee of
                                                              as Trustee    the AELJ
                                                                         of the AELJ Trust,
                                                                                     Trust,

  participated in or authorized Judgment Debtor’s
                                         Debtor's activities and fraudulently transferred or ratified

  the transfer
  the  transfer by
                by the
                    the Judgment
                         Judgment Debtor
                                  Debtor of
                                          of approximately
                                              approximately $614,679.73
                                                            $614,679.73 from     AELJ Trust
                                                                        from the AELJ Trust

  Account to her personal bank account ending in 2420, at Bank of America.

         110.
         110.    While acting or purporting to act as the Trustee of the AELJ Trust, she had actual

  or constructive knowledge of these transfers and the illicit purpose of these transfers.

         111.
         111.    These
                 These transfers
                       transfers from
                                 from the
                                      the AELJ
                                          AELJ Trust
                                               Trust to
                                                     to Jessica
                                                        Jessica were
                                                                were made
                                                                     made for
                                                                          for her
                                                                              her own use and

  benefit and that of the Judgment Debtor and had the effect of evading Judgment
                                                                        Judgment Debtor’s
                                                                                 Debtor's many

  creditors including Chase. See Exhibit B, Transfers to Jessica.

         112.
         112.    Jessica,
                 Jessica, while
                          while acting
                                acting or
                                       or purporting
                                          purporting to
                                                     to act
                                                        act in her capacity as Trustee of the AELJ

  Trust, facilitated the
  Trust, facilitated     transfers from
                     the transfers          Trust without
                                   from the Trust without receiving
                                                           receiving any
                                                                     any consideration
                                                                         consideration for these
                                                                                           these

  transfers and
  transfers and transferred
                transferred from
                             from the
                                   the Trust
                                       Trust to herself for her
                                             to herself     her personal
                                                                personal use
                                                                         use and
                                                                             and benefit.
                                                                                  benefit. Jessica
                                                                                            Jessica

  individually took these funds without providing any consideration for same.

         113.
         113.    At the time of the transfers from the AELJ Trust to Jessica, Chase was a creditor

  of the Judgment Debtor.




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         114. Jessica
         114.   Jessicawas
                        wasaware
                            awareofofChase's
                                      Chase’sclaim
                                              claimagainst
                                                    againstthe
                                                            theJudgment
                                                                Judgment Debtor
                                                                         Debtor at the time of

  these transfers as well as the claims of other creditors of the Judgment Debtor.

         115. Judgment
         115.   Judgment Debtor
                          Debtor has
                                  hasno
                                      noproperty,
                                         property, ororinsufficient
                                                         insufficient available
                                                                       available property
                                                                                 property for
                                                                                          for the
                                                                                              the

  satisfaction of Chase’s
                  Chase's Judgments.

         116. AsAs a result
                 a result ofof
                             thethe multipleconveyances
                                  multiple   conveyancesby
                                                         bythe
                                                            theAELJ
                                                                AELJTrust
                                                                     Trust to
                                                                            to Jessica,
                                                                                Jessica, Chase
                                                                                         Chase has

  been injured, defrauded, and delayed, and has no remedy except as requested in this Complaint.

         Wherefore, Chase
         Wherefore, Chase respectfully
                          respectfully requests
                                       requests this
                                                this Court enter judgment
                                                     Court enter judgment against
                                                                          against Jessica,
                                                                                  Jessica, the

  Judgment Debtor, and the AELJ Trust, jointly and severally, and to:

                                               Jessica, as described
                 A. Find that the transfers to Jessica,    described herein were fraudulent
                                                                                 fraudulent and as
                    such be avoided pursuant to Fla. Stat. § 726.108(1)(a).

                    Order that the funds received
                 B. Order                received by Jessica
                                                     Jessica be attached
                                                                attached pursuant
                                                                         pursuant to
                                                                                  to Fla.
                                                                                     Fla. Stat. §
                    726.108(1)(b).

                 C. Issue      injunction against
                    Issue an injunction   against further
                                                  further disposition
                                                           dispositionby
                                                                       by Jessica
                                                                           Jessica of
                                                                                   of any assets or
                                                                                      any assets
                    transfers to or from the AELJ Trust account or her personal bank account or
                    transfers
                    other property pursuant to Fla. Stat. § 726.108(1)(c)1.

                 D. Appoint a receiver to take charge of the assets transferred to Jessica Jacucci or
                    of other property of the transferee pursuant to Fla. Stat. § 726.108(1)(c)2.

                 E. Levy execution
                          execution onon the transfers
                                             transfers to Jessica
                                                          Jessica and all of its proceeds
                                                                                 proceeds pursuant to
                    Fla. Stat. § 726.108(2).

                 F. Grant an award of attorney’s
                                      attorney's fees and costs against Jessica Jacucci.

                 G. Grant such other relief as this Court deems just and proper.

                                             COUNT IV
                            [Fraudulent Transfers by Judgment Debtor
                          and his agent, Jessica Jacucci to Joseph Jacucci]

         117. Chase
         117.  Chasehereby
                     herebyre-alleges
                             re-allegesand
                                        andincorporates
                                            incorporates paragraphs
                                                         paragraphs 1-85
                                                                    1-85 as
                                                                         as if fully
                                                                               fully set forth
                                                                                         forth

  herein and further states:




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          118.
          118.   This    an action
                 This is an  action to
                                     to avoid
                                         avoid and
                                                andrecover
                                                    recover fraudulent
                                                             fraudulent transfers
                                                                         transfers made
                                                                                   made by
                                                                                        by Judgment
                                                                                            Judgment

  Debtor and his agent, Jessica Jacucci, through the AELJ Trust to Joe, pursuant to Florida Statute

  § 726.105(1)(a)-(b).

          119.
          119.   Approximately $228,800.00
                 Approximately $228,800.00was
                                           was transferred
                                                transferredfrom
                                                            from the
                                                                  the AELJ
                                                                      AELJ Trust
                                                                           Trust to Joe. See

  Exhibit C, the transfers to Joe Jacucci.

          120.
          120.   Joe had actual knowledge of these transfers and had knowledge of the Judgment

  Debtor’s many
  Debtor's many creditors
                creditors and
                          and was on notice of the misuse of the AELJ Trust.

          121.
          121.   Joe did not
                         not provide
                             provide any
                                     any consideration
                                         consideration for receipt of these
                                                                      these transfers
                                                                             transfers or provided
                                                                                          provided

  insufficient consideration for such transfers.

          122.
          122.   At the time of these transfers from the AELJ Trust to Joe, Chase was a creditor of

  the Judgment Debtor.

          123.
          123.   Joe was aware of Chase’s claims against the Judgment Debtor at the time of these
                                  Chase's claims

  transfers.

          124.
          124.   Judgment
                 Judgment Debtor
                          Debtor has    property, or
                                 has no property, or insufficient
                                                      insufficient available
                                                                   available property
                                                                             property for the
                                                                                      for the

  satisfaction of Chase’s
                  Chase's Judgments.

          125.
          125.   As a result of the multiple conveyances by the AELJ Trust to Joe, Chase has been

  injured, defrauded, and delayed, and has no remedy except as requested in this Complaint.

          Wherefore, Chase
          Wherefore, Chase respectfully
                           respectfully requests
                                        requests this
                                                 this Court       judgment against Joe Jacucci,
                                                      Court enter judgment             Jacucci,

  Jessica Jacucci, Judgment Debtor, and the AELJ Trust, jointly and severally, and to:

                 A. Find that the transfers to Joe, as described herein were fraudulent and as such
                    be avoided pursuant to Fla. Stat. § 726.108(1)(a).

                 B. Order that the funds received by Joe from the AELJ Trust or other property of
                    Joe Jacucci be attached pursuant to Fla. Stat. § 726.108(1)(b).

                 C. Issue
                    Issue an injunction
                             injunction against
                                         against further
                                                  further disposition
                                                           dispositionofofthese
                                                                           theseassets
                                                                                 assetsby
                                                                                        by Joe
                                                                                           Joe or
                                                                                               or of
                    other property pursuant to Fla. Stat. § 726.108(1)(c)1.



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               D. Appoint a receiver to take charge of the assets transferred to Joe Jacucci or of
                  other property of the transferee pursuant to Fla. Stat. § 726.108(1)(c)2.

               E. Levy execution
                         execution on the transfers
                                          transfers to Joe and all of its proceeds pursuant to Fla.
                  Stat. § 726.108(2).

               F. Grant an award of attorney’s
                                    attorney's fees and costs against Joe Jacucci.

               G. Grant such other relief as this Court deems just and proper.


  Dated: September 17, 2019.

                                         s/Dennis M. Campbell_______________
                                                      Campbell
                                         Dennis M. Campbell
                                         Florida Bar No. 217527
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                                         Chase Bank USA, N.A.
                                         n/k/a JPMorgan Chase Bank, N.A.


  450982




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